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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  COMMON CAUSE INDIANA,                             )
                                                    )
                                 Plaintiff,         )
                                                    )
                              v.                    )          No. 1:17-cv-03936-TWP-MPB
                                                    )
  CONNIE LAWSON in her official capacity as         )
  Secretary of State of Indiana,                    )
  J. BRADLEY KING in his official capacity as       )
  Co-Director of the Indiana Election Division, and )
  ANGELA NUSSMEYER in her official capacity )
  as Co-Director of the Indiana Election Division, )
                                                    )
                                 Defendants.        )

                  FINAL JUDGMENT PURSUANT TO FED. R. CIV. PRO. 58

         The Court having this day made its Entry directing the entry of final judgment, the Court

  now enters FINAL JUDGMENT.

         Judgment is entered in favor of Plaintiff Common Cause Indiana and against Defendants

  Connie Lawson, Bradley King, and Angela Nussmeyer.

         The Defendants are ENJOINED from implementing SEA 334 §§ 5.5(d)–(f) and from

  otherwise removing any Indiana registrant from the list of eligible voters because of a change in

  residence absent: (1) a request or confirmation in writing directly from the voter that the voter is

  ineligible or does not wish to be registered; or (2) the NVRA-prescribed process of (a) notifying

  the voter, (b) giving the voter an opportunity to respond, and (c) then waiting two inactive federal

  election cycles.

         Judgment is entered accordingly, and this action is TERMINATED.
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  Dated: 8/24/2020




  Roger A.G. Sharpe, Clerk of Court        TANYAWALTONPRATT,J    UDGE
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  By: _____________________________
         Deputy Clerk




   Distribution:

   Courtney Lyn Abshire                    Stuart C. Naifeh
   INDIANA ATTORNEY GENERAL                DEMOS
   courtney.abshire@atg.in.gov             snaifeh@demos.org

   Chiraag Bains                           Parvinder Kaur Nijjar
   DEMOS                                   INDIANA ATTORNEY GENERAL
   cbains@demos.org                        parvinder.nijjar@atg.in.gov

   Adriel I. Cepeda Derieux                Stevie Pactor
   AMERICAN CIVIL LIBERTIES UNION          ACLU OF INDIANA
   FOUNDATION, INC.                        spactor@aclu-in.org
   acepedaderieux@aclu.org
                                           Kaylan L Phillips
   Jefferson S. Garn                       PUBLIC INTEREST LEGAL
   INDIANA ATTORNEY GENERAL                FOUNDATION
   Jefferson.Garn@atg.in.gov               kphillips@publicinterestlegal.org

   William R. Groth                        Aleksandrina Penkova Pratt
   MACEY SWANSON LLP                       INDIANA ATTORNEY GENERAL
   wgroth@fdgtlaborlaw.com                 aleksandrina.pratt@atg.in.gov

   Dale E. Ho                              Gavin Minor Rose
   AMERICAN CIVIL LIBERTIES UNION          ACLU OF INDIANA
   FOUNDATION, INC.                        grose@aclu-in.org
   dale.ho@aclu.org
                                           Christiane A. Roussell
   Matthew Jedreski                        DAVIS WRIGHT TREMAINE LLP
   DAVIS WRIGHT TREMAINE LLP               christianeroussell@dwt.com
   mjedreski@dwt.com



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                                           Kathryn Sadasivan
   Kate Kennedy                            DEMOS
   DAVIS WRIGHT TREMAINE LLP               ksadasivan@demos.org
   katekennedy@dwt.com
                                           Kelly Suzanne Thompson
   Sophia Lin Lakin                        INDIANA ATTORNEY GENERAL
   AMERICAN CIVIL LIBERTIES UNION          kelly.thompson@atg.in.gov
   FOUNDATION, INC.
   slakin@aclu.org                         Grace Katherine Thompson
                                           DAVIS WRIGHT TREMAINE LLP
   Rebecca L. McClain                      gracethompson@dwt.com
   INDIANA ATTORNEY GENERAL
   rebecca.mcclain@atg.in.gov              L. Danielle Toaltoan
                                           DAVIS WRIGHT TREMAINE LLP
   Diana Lynn Moers                        danielletoaltoan@dwt.com
   INDIANA ATTORNEY GENERAL
   diana.moers@atg.in.gov




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